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 8
                              IN THE UNITED STATES DISTRICT COURT
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                                EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                    CASE NO. 1:11-CR-00354-LJO

12                            Plaintiff,          ORDER DISMISSING DEFENDANTS AROYO
                                                  AND X. MEDRANO AND RECALLING
13                       v.                       WARRANTS

14   ESTEBAN AROYO, and
     XAVIER MEDRANO,
15
                              Defendants.
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                 IT IS HEREBY ORDERED that the indictment and superseding indictments in the
18
     above-entitled case shall be DISMISSED without prejudice as to ESTEBAN AROYO and XAVIER
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20 MEDRANO and the WARRANT shall be RECALLED.

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     IT IS SO ORDERED.
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23      Dated:   March 8, 2016                        /s/ Lawrence J. O’Neill
                                                UNITED STATES DISTRICT JUDGE
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